JS 44 (Rev. 4-29-21                                                      CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                      DEFENDANTS
       NDF1, LLC                                                                                       PAUL GOMEZ; NATALIA GOMEZ; NASSAU COUNTY
                                                                                                       T&PVA; “JOHN DOE” and “JANE DOE,” the last two
     (b) County of Residence of First Listed Plaintiff           Sarasota County, FL                   County
                                                                                                       names  of being
                                                                                                                 Residence of First Listed
                                                                                                                        fictitious,    saidDefendant
                                                                                                                                            parties intended
                                                                                                                                                       Nassau being tenants
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                       or occupants, if any,  (IN U.S. PLAINTIFF
                                                                                                                                   having        CASES ONLY)
                                                                                                                                             or claiming   an interest in, or
                                                                                                       NOTE:   IN LAND
                                                                                                       lien upon,   theCONDEMNATION
                                                                                                                         premises          CASES, USE
                                                                                                                                        described    inTHE
                                                                                                                                                        theLOCATION OF
                                                                                                                                                             complaint
                                                                                                               THE TRACT   OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)           Attorneys (If Known)
       Hasbani & Light, P.C. 450 Seventh Avenue, Suite 1408,
       New York, NY 10123
       212-643-6677
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)    III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                    (For Diversity Cases Only)                                    and One Box for Defendant)
     1   U.S. Government               3   Federal Question                                                                  PTF        DEF                                         PTF      DEF
           Plaintiff                         (U.S. Government Not a Party)                    Citizen of This State            1        ✖ 1      Incorporated or Principal Place         4     4
                                                                                                                                                   of Business In This State

   2 U.S. Government           ✖ 4 Diversity                                                  Citizen of Another State            2          2   Incorporated and Principal Place       x 5           5
         Defendant                     (Indicate Citizenship of Parties in Item III)
___________________________________________________________________________                                                                        of Business In Another State
    Does this action include a motion for temporary restraining order or order                Citizen or Subject of a             3          3   Foreign Nation                             6         6
    to show cause? Yes___ No___”✔
                                                                                                Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
            CONTRACT                                             TORTS                          FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
     110 Insurance                    PERSONAL INJURY                  PERSONAL INJURY           625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
     120 Marine                       310 Airplane                    365 Personal Injury -          of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
     130 Miller Act                   315 Airplane Product                Product Liability      690 Other                                28 USC 157                        3729(a))
     140 Negotiable Instrument             Liability                  367 Health Care/                                                                                  400 State Reapportionment
     150 Recovery of Overpayment      320 Assault, Libel &                Pharmaceutical                                              PROPERTY RIGHTS                   410 Antitrust
         & Enforcement of Judgment         Slander                        Personal Injury                                              820 Copyrights                   430 Banks and Banking
     151 Medicare Act                 330 Federal Employers’              Product Liability                                            830 Patent                       450 Commerce
     152 Recovery of Defaulted             Liability                  368 Asbestos Personal                                            835 Patent - Abbreviated         460 Deportation
          Student Loans               340 Marine                          Injury Product                                                   New Drug Application         470 Racketeer Influenced and
          (Excludes Veterans)         345 Marine Product                  Liability                                                    840 Trademark                        Corrupt Organizations
     153 Recovery of Overpayment           Liability                 PERSONAL PROPERTY                    LABOR                        880 Defend Trade Secrets         480 Consumer Credit
         of Veteran’s Benefits        350 Motor Vehicle               370 Other Fraud            710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
     160 Stockholders’ Suits          355 Motor Vehicle               371 Truth in Lending           Act                                                                485 Telephone Consumer
     190 Other Contract                   Product Liability           380 Other Personal         720 Labor/Management                 SOCIAL SECURITY                       Protection Act
     195 Contract Product Liability   360 Other Personal                  Property Damage            Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
     196 Franchise                        Injury                      385 Property Damage        740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                      362 Personal Injury -               Product Liability      751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                          Medical Malpractice                                        Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS          790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:             791 Employee Retirement                                                893 Environmental Matters
✖ 220 Foreclosure                     441 Voting                      463 Alien Detainee             Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                           870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                   443 Housing/                        Sentence                                                         or Defendant)                896 Arbitration
  245 Tort Product Liability              Accommodations              530 General                                                     871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty              IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                          Employment                  Other:                     462 Naturalization Application                                             Agency Decision
                                      446 Amer. w/Disabilities -      540 Mandamus & Other       465 Other Immigration                                                  950 Constitutionality of
                                          Other                       550 Civil Rights               Actions                                                                State Statutes
                                      448 Education                   555 Prison Condition
                                                                      560 Civil Detainee -
                                                                          Conditions of
                                                                          Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖    1 Original             2 Removed from                  3      Remanded from           4 Reinstated or              5 Transferred from        6 Multidistrict                   8 Multidistrict
       Proceeding             State Court                          Appellate Court           Reopened                     Another District            Litigation -                    Litigation -
                                                                                                                          (specify)                   Transfer                        Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       28 USC 1332
VI. CAUSE OF ACTION Brief description of cause:
                                       Mortgage Foreclosure
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                      DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                         JURY DEMAND:                    Yes        ✖ No

VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                        JUDGE                                                             DOCKET NUMBER
DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
           08/16/2023
FOR OFFICE USE ONLY

     RECEIPT #                  AMOUNT                                    APPLYING IFP                                  JUDGE                           MAG. JUDGE
